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                                L]NITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
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                                       EASTERN DIVISION                          ,,::
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 TINITED STATES OF AMERICA                         )                          'ffi#ffiffifffs*.*
                                                   )   No. 09 CR 383                         ","rrid$fl#
         vs.                                       )   Judge Ruben Castillo
                                                   )
JESUS RAUL BELTRAN LEON                            )

                                DEFENDANT'     S   PLEA DECLARATION

       l.      The defendant, JESUS RAUL BELTRAN LEON, after consultation with his attorneys,

STEPHEN G. RALLS, BEAU BRINDLEY, and PATRICK W. BLEGEN, acknowledges and states

the following:

                                       CHARGES IN THIS CASE

        2.       The Ninth Superseding Indictment in this case charges defendant with conspiracy to

 knowingly and intentionally possess with the intent to distribute and distributing five kilograms or

 more of cocaine, one kilogram or more of heroin, 500 grams or more of methamphetamine, and

 1,000 kilograms or more of marijuana, in violation of 21 U.S.C. $ 846 (Count One); conspiracy to

knowingly and intentionally import into the customs territory of the United States, and into the

 United States, from a place outside the United States, and to manufacture and deliver knowing it

would be unlawfully imported into the United States, five kilograms or more of cocaine, one

kilogram or more of heroin, 500 grams or more of methamphetamine, and 1,000 kilograms or more

of marijuana, in violation of     2l   U.S.C. $ 963 (Count Two); and conspiracy to commit money

 laundering, in violation of   l8 U.S.C. $ 1956(h) (Count Five).

        3.       Defendant has read the charges against him contained in the Ninth Superseding

 lndictment, and those charges have been fully explained to him by his attorneys.

        4.       Defendant fully understands the nature and elements of the crimes with which he has
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 been charged.

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         5.      Count One, which charges defendant with conspiracy to knowingly and intentionally

 possess   with the intent to distribute and distributing five kilograms or more of cocaine,         one

 kilogram or more of heroin, 500 grams or more of methamphetamine, and 1,000 kilograms or more

 of marijuana, in violation of 2l U.S.C. $ 846.

                                               Factual Basis

         6.       Defendant   will   plead guilty because he is in fact guilty of the charge contained in

 Count One ofthe Ninth Superseding Indictment. In pleading guilty, defendant admits the following

 facts and that those facts establish his guilt beyond a reasonable doubt:

       Defendant admits that he conspired to possess with the intent to distribute cocaine in excess

of five kilograms as part of the conspiracy charged in the Ninth Superseding Indictment.

       More specifically, and in support of a factual basis for his plea of guilty, Defendant admits

thatfromJune8,2013,throughJune 10,2013, heagreedwithcodefendantVictorManuelFelix

Beltran to distribute 46 kilograms of cocaine in Los Angeles, California.

                                  Maximum Statutorv Penalties

        7.       Defendant understands that the charge to which he is pleading guilty carries the

 following statutory penalties:

                 a.    The charge (Count One) to which Defendant is pleading guilty carries a

maximum sentence of life imprisonment and a statutory mandatory minimum sentence of l0 years.

Pursuant to Title 18, United States Code, Section 3561, defendant may not be sentenced to a term

of probation on this count. The charges also cany amaximum fine of 510,000,000.               Defendant fl-C
further understands that the judge also may impose a term of supervised release
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fiveyears.    (// h):h          '
                  b.      In accord with Title 18, United States Code, Section 3013, defendant        will   be


assessed $100 on each charge to which he has pled       guilty, in addition to any other penalty imposed.


                                Sentencins Guidelines Calculations

        8.         Defendant understands that in imposing sentence the Court          will   be guided by the

United States Sentencing Guidelines. Defendant understands that the Sentencing Guidelines are

advisory, not mandatory, but that the Court must consider the Guidelines                     in determining a
reasonable sentence.

        9.       The defendant's position on the Sentencing Guidelines is as follows:

                  a.      Applicable Guidelines. The Sentencing Guidelines to be considered in this

case are those in effect at the time of sentencing. The   following statements regarding the calculation

of the Sentencing Guidelines are based on the Guidelines Manual currently in effect, namely the

November 2018 Guidelines Manual.

                  b.      Offense LevelCalculations.

                                 Pending review of the government's version of the offense and the

presentence investigation report,     it is the defense's preliminary calculation that   base offense level

for the charge in Count One of the Indictment is level 32 pursuant to USSG $ 2Dl.l(a)(5) based

on the 46 kilograms of cocaine admitted to in this plea. Defendant understands that the government

will likely   seek a higher base offense level and that the Court   will   make the ultimate determination.

                          ii.       It the defense position that Defendant has clearly demonstrated          a

recognition and affirmative acceptance of personal responsibility for his criminal conduct. A two-

level reduction in the offense level is appropriate pursuant to Guideline $3E1.1(a)
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                        iii.    In accord with Guideline $3E I . I (b), it is also the Defense position that

Defendant has timely notified the government of his intention to enter a plea           of guilty, thereby

permitting the government to avoid preparing for trial and permitting the Court to allocate its

resources   efficiently. Therefore,     as provided by Guideline   $3El.l(b), if the Court determines the

offense level to be 16 or greater prior to determining that defendant is entitled to a two-level

reduction for acceptance of responsibility, the defendant anticipates that the government        will move

for an additional one- level reduction in the offense level.

                 c.    Criminal History Category. With regard to determining defendant's criminal

history points and criminal history category, it is the defense position that Defendant's criminal

history points equal zero and defendant's criminal history category is I.

                 d.     Anticipated Advisory Sentencing Guidelines Range.

                Based on the above, the currently calculated offense level is 29, which, when

combined with the anticipated criminal history category of I, results in an anticipated advisory

Sentencing Guidelines range        of   87-108 months' imprisonment, in addition to any supervised

release and fine the Court may impose. Defendant also acknowledges that he is subject to a statutory

minimum sentence of 10 years' imprisonment.

                e.             Defendant and his attorneys acknowledge that the above Guideline

calculations are preliminary in nature, and are non-binding calculations upon which he is not

entitled to rely. Defendant understands that further review ofthe facts or applicable legal principles

may lead the government or the defense to conclude that different or additional Guideline

provisions apply in this case. Defendant understands that the Probation Office will conduct its own

investigation and that the Court ultimately determines the facts and law relevant to sentencing, and

that the Court's determinations govem the final Guideline calculation. Accordingly, the validity         of
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defendant's plea is not contingent upon the probation officer's or the Court's concurrence with the

above calculations, and defendant shall not have a right to withdraw his plea on the basis of the

Court's rejection of these calculations.

                                                   Waiver of Rishts

          10.     Defendant understands that by pleading guilty he surrenders certain rights,

including the following:

                  a.      Trial rights. Defendant has the right to persist in a plea of not guilty to the

charges against him, and        if   he does, he would have the right to a public and speedy trial.

                                        The trial could be either a jury trial or a trial by the judge sitting

without   a   jury. However, in order that the trial be conducted by the judge sitting without a jury,

defendant, the government, and the judge all must agree that the trial be conducted by the judge

without a jury.

                          ii.        If the trial is ajury trial, the jury would be composed oftwelve citizens

from the district, selected at random. Defendant and his attorneys would participate in choosing the

jury by requesting that the Court remove prospective jurors for                     cause where actual bias or other

disqualification     is shown, or by removing                prospective jurors without cause           by   exercising

peremptory challenges.

                          iii.        If the trial is a jury trial,   the   jury would be instructed that defendant is

presumed innocent, that the government has the burden of proving defendant guilty beyond a

reasonable doubt, and that the          jury could not convict him            unless, after hearing all the evidence,   it

was persuaded of his guilt beyond a reasonable doubt and that it was to consider each count of the

indictment separately. The jury would have to agree unanimously as to each count before it could
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retum a verdict of guilty or not guilty as to that count.

                           iv.   If the trial is held by the judge without   a   jury,   the judge would find the


facts and determine, after hearing all the evidence, and considering each count separately, whether

or not the judge was persuaded that the government had established defendant's guilt beyond                        a


reasonable doubt.

                           v.        At a trial, whether by a jury or a judge, the government would               be


required to present its witnesses and other evidence against defendant. Defendant would be able to

confront those government witnesses and his attorneys would be able to cross- examine them.

                           vi.   At a trial, defendant could present witnesses and other evidence in his

own behalf. If the witnesses for defendant would not appear voluntarily, he could require their

attendance through the subpoena power of the           Court. A defendant is not required to present any

evidence.

                          vii. At a trial, defendant would have a                        privilege against self-

incrimination so that he could decline to testifu, and no inference of guilt could be drawn from his

refusal to testify.   If defendant   desired to do so, he could testify in his own behalf.

                 c.       Defendant understands that by pleading guilty he is waiving all the rights set

 forth in the prior paragraphs. Defendant's attorneys has explained those rights                 to   him and the

 consequences of his waiver of those rights.

                            Limitations and Consequences of this Plea Declaration

        1   l.   Defendant understands that the United States Attorney's Office              will fully   apprize the

District Court and the United States Probation Office of the nature, scope and extent of his conduct

regarding the charges against him, and related matters, including all maffers in aggravation and

mitigation relevant to the issue of sentencing. Defendant further understands that he will be able to
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contest the government assertions      if he so chooses,   and may present evidence in mitigation at the

time of sentencing.

        12.        Defendant understands that the sentencing guidelines are no longer mandatory, and

that this Court's decision as to what sentence constitutes a sentence "sufficient, but not greater than

necessary" to comply with the purposes set forth       in   18 U.S.C. $3553(a) may result in a sentence

either within, greater, or less than the applicable sentencing guideline range. Defendant understands

that the applicable sentencing guideline range is one factor, which this Court is required to take into

consideration under 18 U.S.C. $3553(a)(a), along with the other required factors under $3553(a).

        13.        Should this Court refuse to accept Defendant's plea of guilty, this Plea Declaration

shall become null and void and the defendant will not be bound thereto. It is the defense position

that, should the Court decline to accept his plea, this Plea Declaration and the ensuing court

proceedings are inadmissible       in later court proceedings pursuant to Federal Rule of Criminal

Procedure I l(f) and Federal Rule of Evidence 410.

        14.        Defendant understands that at the time       of   sentencing, the government and the

defendant   will   be free to make their respective recommendations to the Court regarding what they

believe to be lawful and appropriate sentences. Defendant understands that the government is not in

agreement with the Guideline calculations listed above and      will likely   argue that a higher Guidelines

range applies to his sentence.

        15.        Defendant agrees that this Plea Declaration shall be filed and become part of the

record ofthe case.

        16.        Defendant and     his   attorneys acknowledge        that no threats, promises,       or

 representations have been made, nor agreements reached, to induce him to plead guilty. Defendant

 further acknowledges that he has read this Plea Declaration and carefully reviewed each provision
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with his attorneys.




                                          Attorney for Defendant




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BEAU BRINDLEY,                            PATRICK W. BLEGE
Attorney for Defendant                    Attorney for Defendant
